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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )               CASE NO. 8:10CR396
                                              )
              Plaintiff,                      )
                                              )
              vs.                             )                 MEMORANDUM
                                              )                  AND ORDER
ARMANDO PEREZ-LOPEZ,                          )
                                              )
              Defendant.                      )

       This matter is before the Court on the Defendant's objection (Filing No. 45) to the

Magistrate Judge's order denying Defendant's motion for a third extension of the pretrial

motion deadline.

       Under 28 U.S.C. § 636(b)(1)(A) and NECrimR 59.2, the Court has reviewed the

order to which the Defendant objects. A district court may set aside any part of the

magistrate judge's order, on a nondispositive matter, shown to be clearly erroneous or

contrary to law. 28 U.S.C. § 636(b)(1)(A).

       The Court has carefully considered the arguments presented in the motion and

supporting brief, and the Court is not persuaded that the Defendant has shown good cause

for a third extension of his pretrial motion deadline.

       IT IS ORDERED:

       1.     The Defendant’s objections to the Magistrate Judge’s order (Filing No. 45)

              are denied; and

       2.     The Magistrate Judge’s order (Filing No. 36) denying the Defendant’s motion

              for a third extension of his pretrial motion deadline is affirmed.

       DATED this 20th day of December, 2010.

                                                  BY THE COURT:

                                                  s/Laurie Smith Camp
                                                  United States District Judge
